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UNITED sTATEs oF AMERICA, QQN @Lg:,@ g_\?__ g
Plaintiff. \,;,g O.~ ltd ;
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'I`IMOTHY MOORE,
Defendant.

 

  
 

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MOTION TO CONTINUE REPORT DATE

 

COMES NOW Defendant, by and through his attorney of record Juni S. Ganguli,
and respectfully moves this Honorable Court to continue the report date in this matter for
ninety days. The report date is currently set for August 26, 2005. In support thereof,
Defendant would show the following:

1. Counsel for Mr. Moore filed a Motion to Determine Competency

to Stand Trial on August 2, 2005.

2. On August 3, 2005, the Court granted the motion.

3. Mr. Moore is therefore scheduled to be evaluated Counsel expects that

the evaluation to require ninety days to be completed

4. Counsel for the United States of America, Katrina Earley, is aware of this

request and has no objection to it.

WHEREFORE, PREMISES CONSIDERED, Defendant requests that this

Honorable Court continue this case to the Novernber 2005 report date.

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Respectfully submitted,

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Juni s. Gang£ri (TN 018659)
Attorney for Defendant
40 South Main Street, Suite 1540

Memphis, TN 38103
(901) 544-9339

CERTIFICATE OF SERVICE
I, Juni S. Ganguli, attorney for Defendant, do hereby certify that a copy of the

foregoing document has been forwarded to the United States Attorney’s Office, 167
North Main Street, Memphis, Tennessee, on the 22“d day of August, 2005.

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Juni s. Gangdii)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20155 was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

J uni S. Ganguli

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Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

